            Case 3:05-cr-00797-MHP           Document 64      Filed 09/19/06          Page 1 of 1



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 6

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 8
                                   UNITED STATES DISTRICT COURT
 9
                                 NORTHERN DISTRICT OF CALIFORNIA
10
                                         SAN FRANCISCO VENUE
11

12   UNITED STATES OF AMERICA,                                     NO. CR 05-797 MHP

13                  Plaintiff,                                     [PROPOSED] ORDER MODIFYING
                                                                   DEFENDANT ANZINI’S
14   vs.                                                           CONDITIONS OF PRE-TRIAL
                                                                   RELEASE TO PERMIT TRAVEL
15                                                                 WITHIN THE EASTERN DISTRICT
                                                                   OF CALIFORNIA
16   LOUISE, ANZINI, et al.,

17                  Defendant.

18   ____________________________________/

19          GOOD CAUSE APPEARING, in that the defendant’s daughter and step son each live in

20   the Eastern District of California, Assistant U.S. Attorney DAVID HALL and U.S. Pre-Trial

21   Services Officer TIMOTHY ELDER have no objection to her pre-trial travel restrictions being

22   extended to the Eastern District of California,

23          IT IS HEREBY ORDERED that defendant LOUISE ANZINI’s pre-trial conditions of
                                                                                ISTRIC
                                                                        T ES D        TC
24   release are modified to permit her travel to the Eastern District A
                                                                       of California.
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25   DATED:     9/18/2006
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                                                          UNIT




26
                                                                    I T I S SO O
                                                                   _____________________________
                                                                   The Honorable Marilyn Hall Patel
                                                                                                      R NIA




27                                                                 U.S. District Court Judge
                                                                                           atel
                                                                                   lyn H. P
                                                          NO




28                                                                              ari
                                                                        Judge M
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                                                           RT




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